                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                      Nashville Division
 L.W., by and through her parents and next
 friends, Samantha Williams and Brian
 Williams, et al.,

                Plaintiffs,

 and                                                 Civil No. 3:23-cv-00376

 UNITED STATES OF AMERICA,                           Judge Richardson

                 Plaintiff-Intervenor                Judge Newbern

        v.

 JONATHAN SKRMETTI, in his official
 capacity as the Tennessee Attorney General
 and Reporter, et al.,

                Defendants.


       DECLARATION OF DAVID BETHEA, ESQ. IN SUPPORT OF PLAINTIFFS’
        REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION

       I, David Bethea, Esq., hereby declare:

       1.      I am an attorney at the law firm Akin Gump Strauss Hauer & Feld LLP, co-counsel

for the Plaintiffs in the above-captioned matter. I have been admitted pro hac vice to practice

before this Court, and I submit this declaration in support of Plaintiffs’ Reply in Support of Motion

for Preliminary Injunction (the “Reply”).

       2.      The purpose of this declaration is to provide the Court with copies of certain

documents referenced in the Reply. Plaintiffs have excerpted Exhibit D—which is quite lengthy—

to include only those portions related to Plaintiffs’ arguments in the Reply. Plaintiffs are happy to

provide a complete copy off this document at the Court’s request.

       3.      Attached hereto as Exhibit A is a true and correct copy of a Civil Investigative


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Demand issued by the Office of the Attorney General and Reporter for the State of Tennessee to

VUMC Center for Transgender Health on November 2, 2022.

       4.      Attached hereto as Exhibit B is a true and correct copy of a Civil Investigative

Demand issued by the Office of the Attorney General and Reporter for the State of Tennessee to

VUMC Center for Transgender Health on March 14, 2023.

       5.      Attached hereto as Exhibit C is a true and correct copy of a second Civil

Investigative Demand issued by the Office of the Attorney General and Reporter for the State of

Tennessee to VUMC Center for Transgender Health on March 14, 2023.

       6.      Attached hereto as Exhibit D is a true and correct copy of the trial transcript in

Brandt v. Rutledge, Case No. 4:21-CV-00450-JM (E.D. Ark.), excerpted to include portions of the

testimony of Stephen B. Levine, M.D.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated: June 1, 2023



                                                            Respectfully Submitted,



                                                             s/ David Bethea
                                                            David Bethea




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 1, 2023, the undersigned filed the foregoing Declaration of
David Bethea, Esq. in Support of Plaintiffs’ Reply in Support of Motion for Preliminary Injunction
via this Court’s electronic filing system, which sent notice of such filing to the following counsel
of record:

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